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                                In the United States District Court
                                For the Northern District of Texas
                                         Dallas Division

Christopher Haidet                              §
                                                §
          Plaintiff,                            §
                                                §
v.                                              §   Civil Action No. 3:20-cv-03697-X
                                                §
Redaptive, Inc. d/b/a Redaptive                 §
Services, LLC                                   §
                                                §
          Defendant.

                 Plaintiff’s Response to Defendant’s Motion to Dismiss or,
                      In the Alternative, Stay and Compel Arbitration


        Plaintiff Christopher Haidet files his Response to Defendant’s Motion to Dismiss

or, in the alternative, to Stay and Compel Arbitration and states:

        Plaintiff does not oppose Defendant’s Motion to Stay and Compel Arbitration.

        Haidet signed the offer letter attached to Defendant’s Motion that contains the

arbitration clause. Haidet does not oppose having his claims compelled to arbitration.

        However, Haidet requests this Court stay the lawsuit and administratively close

it pending the arbitration instead of dismissing it. The court has discretion to stay the

case pending arbitration instead of dismissing it. Bank of Am., N.A. v. Scott, 3:08-CV-

1935-L, 2009 WL 700997 (N.D. Tex. Mar. 16, 2009). See also 9 U.S.C. § 3; Alford v. Dean

Witter Reynolds, Inc., 975 F.2d 1161, 1164 (5th Cir. 1992).




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        Plaintiff’s counsel, Karen Fitzgerald, and Defendant’s counsel Keith Clouse

conferred regarding the motion. Plaintiff’s counsel advised Defendant’s counsel that

Haidet would seek a stay of this lawsuit while the arbitration was pending if the parties

needed to seek court intervention during the arbitration process.

        Clouse advised Plaintiff’s counsel he did not oppose a stay of the lawsuit

pending the arbitration.

        In these circumstances, where Plaintiff’s request for a stay is not opposed by the

Defendant seeking to compel arbitration, the Court may exercise its discretion to stay

the lawsuit and administratively close it pending arbitration. Bank of America at *2,

citing Fedmet Corp. v. M/V BUYALYK, 194 F.3d 674, 675 (5th Cir. 1999).

        Wherefore, Plaintiff Christopher Haidet requests that the Court stay this lawsuit

and administratively close it pending arbitration of the claims and for such other and

further relief to which Plaintiff is justly entitled.

                                             Respectfully submitted,

                                             /s/ Karen K. Fitzgerald
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                                             Counsel for Plaintiff

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                                       Certificate of Service

      The undersigned certifies that a copy of this document was filed with the Court
and served electronically through the CM-ECF system on the following counsel on
February 2, 2021:

        Keith Clouse
        Camille Avant
        Clouse Brown PLLC
        1201 Elm Street, Suite 5250
        Dallas TX 75270-2142

                                              /s/ Karen K Fitzgerald
                                              Karen K. Fitzgerald




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